     Case: 7:21-cv-00004-DLB Doc #: 11 Filed: 02/25/21 Page: 1 of 4 - Page ID#: 62




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                       AT PIKEVILLE
                             CIVIL ACTION NO. 7:21-CV-00004-DLB

RYAN HALL and
HEATHER HALL, his wife                                                                 PLAINTIFFS

v.                          PLAINTIFFS’ MOTION FOR REMAND

UNITED SERVICES AUTOMOBILE ASSOCIATION
d/b/a USAA CASUALTY INSURANCE COMPANY
and
GARRISON PROPERTY AND CASUALTY INSURANCE                                              DEFENDANTS


         Come the Plaintiffs, by counsel, and move the Court for remand to the Knott Circuit

Court based upon 28 U.S.C. Sec. 1332(a)(1). In support of this Motion, the Plaintiffs state as

follows:

         Plaintiffs filed their Complaint against the Defendants in the Knott Circuit Court, Knott

County, Kentucky, on December 18, 2020. It is designated as Civil Action No. 20-CI-00249.


         1. On January 25, 2021, Defendant Garrison Property and Casualty Insurance Company,

hereinafter referred as “Garrison”, filed its Notice of Removal with this Court. Its co-defendant,

USAA Casualty Insurance Company, consented to the removal.


         2. Garrison, in its Notice, pleads that it is a Texas Corporation and that it issued the

contract of insurance in question in this matter. It further contends that its co-defendant has been

“fraudulently joined”.


         3. Garrison contends that removal is appropriate because of the amount in controversy

and the diversity of citizenship of all parties pursuant to 28 U.S.C. Sec. 1441(a).
  Case: 7:21-cv-00004-DLB Doc #: 11 Filed: 02/25/21 Page: 2 of 4 - Page ID#: 63




       4. On or about January 29, 2021, this Court entered an Order for Garrison to show cause

why this action should not be remanded for lack of removal jurisdiction. Further, this Court’s

Order directed that Garrison’s response explain why USAA is fraudulently joined if USAA’s

inclusion as a Defendant does not destroy diversity.

       5. On January 25, 2021 pursuant to Fed. R.Civ.P. Rule 7.1, Garrison filed its corporate

disclosure statement noting that it was a Texas corporation and was a wholly owned subsidiary

of USAA Casualty Insurance Company. It further noted that USAA Casualty Insurance

Company is a Texas Corporation that is a wholly owned subsidiary of United Services

Automobile Association (“USAA”). USAA is an unincorporated association.

       6. With regard to citizenship, the Court’s Order makes reference to Delay v. Rosenthal

Collins Grp., LLC, 585 F. 3d 1003 (6th Cir. 2009), for the rule that membership in an

unincorporated entity determines citizenship.

       7. The Plaintiffs have been communicating with the Defendants for a significant period

of time prior to the filing of their Complaint. Exhibit 1 is the first page of correspondence from

USAA to Plaintiff Ryan Hall dated March 6, 2019. It identifies Ryan Hall has a USAA

policyholder. It also lists a “member number” for Ryan Hall. It thanks him “…for trusting USAA

for your insurance needs.”

       8. Exhibit 2 is correspondence to Ryan Hall dated March 7, 2019. The correspondence

begins by thanking Mr. Hall “…for trusting USAA with your insurance needs.” The

correspondence is signed by a “Member Service Representative” and mentions Garrison

Property and Casualty Insurance Company.

       9. Exhibit 3 is a two-page letter from legal counsel to Ryan Hall dated December 30,
  Case: 7:21-cv-00004-DLB Doc #: 11 Filed: 02/25/21 Page: 3 of 4 - Page ID#: 64




2019. The letter identifies the client as USAA Insurance Company, and it advises that USAA has

asked that law firm to investigate and evaluate Mr. Hall’s claim. The letter indicate that USAA is

investigating all related details. It also explains Mr. Hall’s duty to cooperate under “Your USAA

policy….” The correspondence notes a copy being sent to USAA Insurance Company.

       10. Exhibit 4 is an e-mail to Heather Hall dated March 19, 2020 from USAA Claims. The

subject line lists “Review Your USAA Property Claim.”

       11. Exhibit 5 is the first page of correspondence dated March 19, 2020 to Ryan Hall that

contains the same USAA policyholder and member number as Exhibit 1. Exhibit 5 also thanks

Mr. Hall for “trusting USAA for your insurance needs.”

       12. Exhibit 6 is a two-page correspondence to Plaintiff Ryan Hall dated July 27, 2020. It

notes that “Your claim for … are pending USAA to conclude the investigation.” However, the

document is signed by Terry r. Stout, Jr. of Garrison Property and Casualty Insurance Company.

       13. Exhibit 7 is correspondence to undersigned counsel for the Plaintiffs dated August 7,

2020. It identifies Ryan Hall as a USAA policyholder, but it is also signed by Mr. Stout.

       14. Exhibit 8 is correspondence to Plaintiff Ryan Hall dated September 9, 2020. It notes

that “USAA is continuing the investigation into your claim.” It further directs that any

correspondence or questions “to us” be sent to usaa.com or to USAA Claims Department in San

Antonio Texas.

       15. Needless to say, the above referenced Exhibits, coupled with the corporate

disclosures filed subsequent to the Notice of Removal, leave the citizenship question in a murky

state. At the outset, Ryan Hall was referred to as a USAA policyholder and was assigned or had a

USAA member number. Upon information and belief, the Plaintiffs aver that one must be a

member of USAA in order to participate in any of its insurance business as a policyholder.
  Case: 7:21-cv-00004-DLB Doc #: 11 Filed: 02/25/21 Page: 4 of 4 - Page ID#: 65




       16. Based upon the record as it currently exists, the Plaintiffs assert that the Defendants

have failed to establish that there is complete diversity between the Plaintiffs and Defendants.

Therefore, this matter was improvidently removed from the Knott Circuit Court.

       17. Pursuant to LR 7.1(e), the Plaintiffs submit their proposed Order pertaining to their

Motion.

       Wherefore, the Plaintiffs respectfully move the Court for an Order sustaining the

Motion for Remand and remand this action to the Knott Circuit Court for further

proceedings.



                                                             Respectfully submitted,

                                                             /s/ Jim G. Vanover
                                                             /s/ Keith Bartley
                                                             vanoverhall@bellsouth.net
                                                             Vanover, Hall & Bartley, P.S.C.
                                                             310 South Lake Drive
                                                             Prestonsburg, KY 41653
                                                             (606) 886-1428
                                                             Counsel for Plaintiffs


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2021, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system, which will send a copy to:


       Robert L. Steinmetz, rsteinmetz@gsblegal.com
